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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No. 2:14-cv-03488-JLS-AJW                                         Date: September 28, 2021
 Title: United States of America et al v. INSYS Therapeutics, Inc. et al


 Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

       Melissa Kunig                                                   N/A
       Deputy Clerk                                               Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:               ATTORNEYS PRESENT FOR DEFENDANT:

        Not Present                                               Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION FOR
              FAILURE TO PROSECUTE

         On September 21, 2021, the Court ordered the intervening states and relators to
 show cause why this action should not be dismissed for failure to file operative
 complaints or prosecute claims. (See OSC, Doc. 65.) The intervening states and relators
 failed to respond to the Court’s Order.
         Accordingly, the Court DISMISSES this action in its entirety for failure to
 prosecute pursuant to Federal Rule of Civil Procedure 41(b).

                                                                  Initials of Deputy Clerk: mku




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                          CIVIL MINUTES – GENERAL                            1
